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Attorneys for Defendant

                          IN THE UNITED STATES DISTRICT COURT

                                    DISTRICT OF OREGON
                                           (Eugene Division)

MICHAEL EVANS,                                           Case No. 6:19-cv-01062-MK

                              Plaintiff,                 STIPULATED MOTION TO
                                                         CONTINUE DISCOVERY AND
       vs.                                               PRETRIAL DEADLINES

GUARANTY RV, INC. a/b/n GUARANTY RV
CENTERS,

                              Defendant.

                                           STIPULATED MOTION

       It is stipulated by the parties that all deadlines for completion of discovery and pretrial

submissions should be extended for 120 days, as outlined below:


  DEADLINE                       FROM:                               TO:

  Discovery Completion           3/9/2020                            7/9/2020

  Dispositive Motions            4/8/2020                            8/6/2020
  Joint Alternate Dispute        30 days after ruling on             30 days after ruling on
  Resolution                     dispositive motions or 5/8/2020     dispositive motions or 6/8/2020
       To date, the parties have been diligently engaging in document discovery, which has been

voluminous, and written discovery. This motion is made to provide adequate time to complete


 STIPULATED MOTION TO CONTINUE                            GORDON REES SCULLY MANSUKHANI, LLP
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document discovery prior to the 15 depositions that the parties expect to take and allow for

possible difficulties in scheduling certain non-party witnesses. It is not made with the intent to

delay. Thus, for the forgoing reasons, good cause exists to extend the deadlines as outline below

RESPECTFULLY SUBMITTED:



DATED this         _25th         day      of February             2020


 GILROY NAPOLI SHORT LAW                            GROUP   GORDON REES SCULLY MANSUKHANI, LLP



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